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Form 22

   FORM 22. Transcript Purchase Order




                     United States Court of Appeals for the Federal Circuit
Aviation Capital Partners, LLC
                                                           ) Appeal from                           Delaware
                                                                           U.S. District Court for ________________
                                                                           Court of International Trade
                                                                           Court of Federal Claims
                              —VERSUS—                     ) TRIAL COURT NO. 22-1556-RGA
                                                                             _________________________________
                                                           ) CIRCUIT COURT NO. _______________________________
SH Advisors, LLC
                                            TRANSCRIPT PURCHASE ORDER
                           (See Rules 10(b) and 11(b) of the Federal Rules of Appellate Procedure)

PART I -     TO BE COMPLETED BY THE APPELLANT WITHIN 14 DAYS OF FILING OF NOTICE OF APPEAL.
             When filing this form, distribute copies as follows: 3 copies to the court reporter; 1 copy to the Trial
             Court; 1 copy to the appellee; 1 copy retained by appellant.
     A. Complete one of the following:
             (        ) A transcript is not needed for the appeal
             (        ) A transcript is already on file
             (        ) Request is hereby made to the reporter for a transcript of the following proceedings (give particu-
lars): February 1, 2023 - Transcript re: Motion for Preliminary Injunction and Motion to Dismiss
                        Note: voir dire and closing arguments are not prepared unless specifically requested.

              Note: Unless the entire transcript is ordered, appellant must attach a statement of the issues to Copies 4 and 5.
      B. I certify that financial arrangements have been made with the reporter. Payment is by:
                (         ) Private Funds
                (         ) Government expense (civil case). A motion for transcript has been submitted to the trial judge.

        /s/ David E. Moore
SIGNED _____________________________  DATE 9/25/2023                    Aviation Capital Partners, LLC
                                            __________ COUNSEL FOR _____________________________
ADDRESS Potter   Anderson & Corroon LLP, 1313 N. Market St., 6th Fl., Wilmington, DE 19801
         ________________________________________________________________________________________
             (302) 984-6000
TELEPHONE ____________________________

PART II - TO BE COMPLETED BY THE COURT REPORTER
              2 copies retained by the reporter; 1 copy to be transmitted to the Court of Appeals on same date transcript
              order is received.
              Date Purchase Order received: _____________________
              Estimated completion date: _______________________
              Estimated number of pages: _______________________
I certify that satisfactory financial arrangements have/have not (strike one) been completed with appellant for payment of the
cost of the transcript.

                                                               _________________________________________________
                                                                               Signature and Date
                                                               Telephone _______________________________________

PART III - NOTIFICATION THAT TRANSCRIPT HAS BEEN FILED IN THE TRIAL COURT.
             (To be completed by court reporter on date of filing transcript in Trial Court and this notification must be
             forwarded to Court of Appeals on the same date.)
This is to certify that the transcript has been completed. _________ volumes of transcript have been filed with the Trial Court
today.

_________________________________                              _________________________________________________
              Date                                                                    Signature



146                                                      Reset Fields
